  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 1 of 12 PageID #: 1




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,               )
                                          )
                   Plaintiff,             )
                                          )   C.A. No. ___________________
      v.                                  )
                                          )
DURACELL INC.,                            )   DEMAND FOR JURY TRIAL
                                          )
                   Defendants.            )


           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

      1.     Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and

through its counsel, hereby brings this action for patent infringement against

Duracell Inc., (“Duracell” or “Defendant”) alleging infringement of the following

validly issued patent (the “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled

“System and method for presenting information about an object on a portable

electronic device” (the “ʼ752 Patent”), attached hereto as Exhibit A.

                            NATURE OF THE ACTION

      2.     This is an action for patent infringement arising under the United

States Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                     PARTIES

      3.     Plaintiff Symbology Innovations, LLC is a Texas company with its

principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

      4.     On information and belief, Duracell Inc. is an entity established in

Delaware and may be served by its registered agent The Corporation Trust
                                 1
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 2 of 12 PageID #: 2




Company, Corporation Trust Center 1209 Orange St., Wilmington, DE 19801.

                          JURISDICTION AND VENUE

      5.    This lawsuit is a civil action for patent infringement arising under the

patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-

matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

      6.    The Court has personal jurisdiction over Defendant for the following

reasons: (1) Defendant is present within or has minimum contacts within the State

of Delaware and the district of Delaware; (2) Defendant has purposefully availed

itself of the privileges of conducting business in the State of Delaware and in this

district; (3) Defendant has sought protection and benefit from the laws of the

State of Delaware; (4) Defendant regularly conducts business within the State of

Delaware and within this district, and Plaintiffʼs cause of action arises directly

from Defendantʼs business contacts and other activities in the State of Delaware

and in this district; and (5) Defendant is incorporated in Delaware and has

purposely availed itself of the privileges and benefits of the laws of the State of

Delaware.

      7.    Defendant, directly and/or through intermediaries, ships, distributes,

uses, offers for sale, sells, and/or advertises products and services in the United

States, the State of Delaware, and the District of Delaware including but not

limited to the products which contain the infringing ʼ752 Patent systems and

methods as detailed below. Upon information and belief, Defendant has

committed patent infringement in the State of Delaware and in this district;

                                 2
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 3 of 12 PageID #: 3




Defendant solicits and has solicited customers in the State of Delaware and in this

district; and Defendant has paying customers who are residents of the State of

Delaware and this district and who each use and have used the Defendantʼs

products and services in the State of Delaware and in this district.

        8.     Venue is proper in the District of Delaware pursuant to 28 U.S.C. §§

1400(b). Defendant is incorporated in this district, has transacted business in this

district, and has directly and/or indirectly committed acts of patent infringement

in this district.

                                   PATENT-IN-SUIT

        9.     The Patent-in-Suit teaches systems and methods for enabling a

portable electronic device (e.g., smartphone) to retrieve information about an

object when the objectʼs symbology (e.g. QR code) is detected.



                      SUMMARY OF INFRINGING ACTIONS

        10.    Duracell advertises it has “the most trusted lineup of batteries in the

world.” See Ex. 1, available at https://www.duracell.com/en-us.

        11.    Duracell also invites visitors to its website to

“[l]earn how the technology used to make [Duracellʼs] long

lasting batteries makes [Duracell] the #1 trusted battery

brand.” See Ex. 1.

        12.    Among the technologies Duracell utilizes to



                                 3
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 4 of 12 PageID #: 4




promote its batteries and other products is the QR code. For example, Duracell

utilized QR codes during the Olympics in its promotional material. See Figure 1.

                                                          Figure 1

                                  COUNT I
                (Infringement of U.S. Patent No. 8,424,752)

       13.   Plaintiff incorporates by reference the allegations of paragraphs 1-12,

the same as if set forth herein.

       14.   The ʼ752 Patent is valid, enforceable, and was duly and legally issued

by the United States Patent and Trademark Office (“USPTO”) on April 23, 2013.

The ʼ752 Patent is presumed valid and enforceable. See 35 U.S.C. § 282.

       15.   Plaintiff is the owner by assignment of the ʼ752 patent and possesses

all rights of recovery under the ʼ752 patent, including the exclusive right enforce

the ʼ752 patent and pursue lawsuits against infringers.

       16.   On information and belief, Defendant has infringed and continues to

infringe on one or more claims of the ʼ752 Patent—directly, contributorily, and by

inducement—by importing, making, using, offering for sale, or selling products

and devices that embody the patented invention, including, without limitation, one

or more of the patented ʼ752 systems and methods, in violation of 35 U.S.C. § 271.

       Direct Infringement

       17.   On information and belief, Defendant has been and now is directly

infringing by, among other things, practicing all of the steps of the ʼ752 Patent

through internal testing, quality assurance, research and development, and

troubleshooting. See Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775 (Fed.Cir.
                                 4
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 5 of 12 PageID #: 5




1993); see also 35 U.S.C. § 271 (2006). For instance, Defendant has directly

infringed the Patent-in-Suit by testing, configuring, and troubleshooting the

functionality of QR codes on its products and services.

       18.   By way of example, Defendant has infringed and continues to infringe

on at least one or more claims, including at least Claim 1 of the ʼ752 Patent which

teaches

             A method comprising:
               capturing a digital image using a digital image capturing
                 device that is part of a portable electronic device;
               detecting symbology associated with an object within the
                 digital image using a portable electronic device;
               decoding the symbology to obtain a decode string using
                 one or more visual detection applications residing on
                 the portable electronic device;
               sending the decode string to a remote server for
               processing:
               receiving information about the object from the remote
                 server wherein the information is based on the decode
                 string of the object.
               displaying the information on a display device associated
                 with the portable electronic device.

       19.   On information                                  and belief, at least through

testing, quality assurance,                                  troubleshooting, and

research and development,                                    Defendant employs a

method wherein a digital                                     image (e.g., “QR code”)

associated with its products                                 is captured by the camera

of a portable electronic                                     device (e.g., a smartphone

or a tablet) (“capturing a                                   digital image using a digital

image capturing device that is part of a portable electronic device”). See Figures


                                 5
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 6 of 12 PageID #: 6




1, 2, and 3.




               Figure 1                 Figure 2                  Figure 3

       20.      On information and belief, Defendant uses a smartphone, a tablet, or

another similar device to detect symbology (e.g., the QR code) associated with an

object, such as the Defendantʼs infringing product exhibited below in Figure 4

(“detecting symbology associated with an object within the digital image using a

portable electronic device”).




                                         Figure 4
       21.      On information and belief, Defendant uses a smartphone, tablet, or

similar device to decode the symbology to obtain a decode string (e.g., hyperlink)

using the visual detection application residing in the smartphone or tablet


                                 6
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 7 of 12 PageID #: 7




(“decoding the symbology to obtain a decode string using one or more visual

detection applications residing on the portable electronic device”). For example, a

smartphone detects the symbology of the QR code on Defendantʼs product and

decodes the digital image captured on the smartphone camera to produce a

decoded hyperlink as shown in the figures below. The decoded string is sent to a

remote server for processing as shown in Figure 5 (“sending the decode string to

a remote server for processing”).




                                     Figure 5

      22.   On information and belief, after clicking the hyperlink obtained by

scanning the QR code associated with the product, the smartphone receives

information about the product from a remote server. (“receiving information about

the object from the remote server wherein the information is based on the decode

string of the object”). The information is received and displayed on a smartphone

as shown in Figure 6 below (“displaying the information on a display device

associated with the portable electronic device”).



                                 7
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 8 of 12 PageID #: 8




                                      Figure 6

       Induced Infringement

       23.   Defendant has been and now is indirectly infringing by way of

inducing infringement by others and/or contributing to the infringement by others

of the ʼ752 Patent in the State of Delaware, in this judicial District, and elsewhere

in the United States, by, among other things, making, using, offering for sale,

and/or selling, without license or authority, products affixed with QR codes that

require the accused technology for intended functionality, testing, configuration,

troubleshooting, and other utilization. End users include, for example, customers,

retail store personnel, and other third-parties.

       24.   Defendant took active steps to induce infringement, such as

advertising an infringing use, which supports a finding of an intention. See Metro-

Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may

be presumed from distribution of an article in commerce that the distributor

intended the article to be used to infringe another's patent, and so may justly be

held liable for that infringement.”). For example, Defendantʼs website instructs
                                         8
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
  Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 9 of 12 PageID #: 9




customers that “[w]hether youʼre looking for product or solutions brochures,

instruction or application videos, printer software or drivers, the experts at SATO

have compiled a library of resources to help you explore, operate and maintain

your SATO printer.” See Ex. 1.

       25.     The allegations herein support a finding that Defendant induced

infringement     of   the   ʼ752   Patent.   See   Power   Integrations    v.   Fairchild

Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed

induced infringement verdicts based on circumstantial evidence of inducement

[e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

customers, end users] without requiring hard proof that any individual third-party

direct infringer was actually persuaded to infringe by that material.”).

       Contributory Infringement

       26.     On information and belief, Defendant contributorily infringes on

Symbologyʼs ʼ752 Patent. Defendant knew or should have known, at the very least

as a result of its freedom to operate analyses, that third parties, such as its

customers, would infringe the ʼ752 Patent by implementing Defendantʼs QR code

technology.

       27.     On information and belief, Defendantʼs implementation of the

accused functionality has no substantial non-infringing uses. See, e.g., Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that

the “substantial non-infringing use” element of a contributory infringement claim

applies to an infringing feature or component, and that an “infringing feature” of a

                                 9
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
 Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 10 of 12 PageID #: 10




product does not escape liability simply because the product as a whole has other

non-infringing uses).

      Willful Infringement

      28.   On information and belief, the infringement of the ʼ752 Patent by

Defendant has been and continues to be willful. Defendant has had actual

knowledge of Symbologyʼs rights in the ʼ752 Patent and details of Defendantʼs

infringement based on at least the filing and service of this complaint.

Additionally, Defendant had knowledge of the ʼ752 Patent and its infringement in

the course of Defendantʼs due diligence and freedom to operate analyses.

      Plaintiff Suffered Damages

      29.   Defendantʼs acts of infringement of the ʼ752 Patent have caused

damage to Symbology, and Symbology is entitled to recover from Defendant the

damages sustained as a result of Defendantʼs wrongful acts in an amount subject

to proof at trial pursuant to 35 U.S.C. § 271. Defendantʼs infringement of

Symbologyʼs exclusive rights under the ʼ752 Patent will continue to damage

Symbology causing it irreparable harm for which there is no adequate remedy at

law, warranting an injunction from the Court.

                             REQUEST FOR RELIEF

      30.   Symbology incorporates each of the allegations in the paragraphs

above and respectfully asks the Court to:

      (a)   enter a judgment that Defendant has directly infringed, contributorily

      infringed, and induced infringement of one or more claims of each of the

                                 10
    COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 11 of 12 PageID #: 11




    ʼ752 Patent;

    (b)   enter a judgment awarding Symbology all damages adequate to

    compensate it for Defendantʼs infringement of, direct or contributory, or

    inducement to infringe, the including all prejudgment and post-judgment

    interest at the maximum rate permitted by law;

    (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. §

    284 for Defendantʼs willful infringement of the ʼ752 Patent

    (d)   issue a preliminary injunction and thereafter a permanent injunction

    enjoining and restraining Defendant, its directors, officers, agents, servants,

    employees, and those acting in privity or in concert with them, and their

    subsidiaries, divisions, successors, and assigns, from further acts of

    infringement, contributory infringement, or inducement of infringement of

    the ʼ752 Patent;

    (e)   enter a judgment requiring Defendant to pay the costs of this action,

    including all disbursements, and attorneysʼ fees as provided by 35 U.S.C. §

    285, together with prejudgment interest; and

    (f)   award Symbology all other relief that the Court may deem just and

    proper.




                               11
  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
Case 1:19-cv-01021-RGA Document 1 Filed 06/02/19 Page 12 of 12 PageID #: 12




Dated: June 2, 2019               Respectfully submitted,


                                  /s/ Stamatios Stamoulis
                                  Stamatios Stamoulis #4606
                                  stamoulis@swdelaw.com
                                  Richard C. Weinblatt #5080
                                  weinblatt@swdelaw.com
                                  800 N. West Street Third Floor
                                  Wilmington, DE 19801
                                  (302) 999-1540

                                  KIRK. J. ANDERSON (SBN 289043)
                                  kanderson@budolaw.com
                                  M. GRANT MCARTHUR (SBN 321959)
                                  gmcarthur@budolaw.com
                                  BUDO LAW, LLP
                                  5610 Ward Rd., Suite #300
                                  Arvada, CO 80002
                                  (720) 225-9440 (Phone)
                                  (720) 225-9331 (Fax)

                                  Attorney(s) for Plaintiff Symbology
                                  Innovations, LLC.




                                12
   COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL
